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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
___________________________________________
IN RE: SUBOXONE (BUPRENORPHINE              :
HYDROCHLORIDE AND NALAXONE)                 :
ANTITRUST LITIGATION                        : MDL NO. 2445
                                            : 13-md-2445
THIS DOCUMENT APPLIES TO                    :
ALL ACTIONS                                 :
___________________________________________ :


                                            ORDER

       AND NOW, this 22nd day of May, 2019, upon consideration of Plaintiffs’ Motion to

Exclude the Untimely Affidavit of Ms. Robin Kinard (Doc. No. 521) and Defendant’s Response

(Doc. No. 528), and following a telephone conference, it is hereby ORDERED that:

       1. The Motion to Exclude is DENIED as I find that the untimely production of the

          affidavit was not done in bad faith.

       2. Plaintiffs shall have a period of sixty (60) days during which they may:

              a. propound document discovery limited to regarding the production and

                  substance of the Kinard affidavit; and

              b. depose Ms. Kinard at a time and place selected by Ms. Kinard and Plaintiffs.

       3. Plaintiffs shall have thirty (30) days after the close of the limited discovery period in

          which to amend or supplement their expert reports. Defendant may not amend or

          supplement its expert reports in response.

       4. Defendant is reminded of their representation during the telephone conference that Ms.

          Kinard will not offer, at trial, any opinions or testimony regarding Defendant’s state of

          mind.

       5. The dispositive motion briefing schedule is amended as follows:

              a. Motions for summary judgment are due on or before September 26, 2019;
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    b. Responsive briefing is due on or before October 31, 2019;

    c. Reply briefs are due on or before November 21, 2019.



                                       BY THE COURT:


                                        /s/ Mitchell S. Goldberg
                                       ______________________________
                                       Mitchell S. Goldberg,     J.
